Case 3:22-cv-02174-K-BT Document 13 Filed 11/07/22 Pagel1of6 PagelD 58

ORIGI NAL UNITED STATES DISTRICT COURT oe

 

 

 

S
2022NOV-7 AM 9 1G
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION DEPUTY CLERK___ mb
-TIANIKWA :HAYWOOD, ET AL. § Civil Action
PLAINTIFFS § No. 3:22-CV-2174-C
§
V. §
§
TEXAS REALATOR, ET AL. §
DEFENDANTS §

 

PLAINTIFF’S OBJECTION TO THE DEFENDANTS PENNYMAC LOAN SERVICES,
LLC’S AND MACKIE WOLF ZIENTZ AND MANN, P.C.’S MOTION TO DISMISS
PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(B)(5)

 

COMES NOW, :Tianikwa :Haywood and :Paul-Douglas :Celestine, Pro-Se invoke

Maritime Law and Federal Law. [U.S.C.A. Const. 5" and 14"].
-NOTICE-

The Due Process clause of the United States Constitution prohibits a court from hearing a

case that party has been given proper notice of satisfying this notice’s requirement.

In the above cause the Plaintiff has informed all known parties of their interest by a
reasonable reliable means, “The United Postal Service.” In the above cause the Defendant
interfered into RICO Fraud and the Plaintiff can provide Pro-Se of Service by the United States
Postal Service and the Defendant did receive the complaint and summons as required by due

process of law. The Plaintiff objects to the F.R.C.P. 12 (B)(5) as the service was in the guidelines

of the United States Constitution.
Case 3:22-cv-02174-K-BT Document 13 Filed 11/07/22 Page2of6 PagelD 59

The Plaintiff in this case served the Defendant at the home office at 14160 N. Dallas
Parkway, Suite 900 Dallas, Texas 75254. The Federal Rule of Civil Procedure governs the
service of process in federal court. The Defendant did receive service. The Plaintiff sent
summons and complaints together with a waiver to address before stated. The service was issued

by registered mail and the First-Class mail was proper.

Hague Convention provides that judicial documents may be served by the postal channel.
I.d. Under the Hague Convention Maritime Law applies in that it is postal law. [Article 10 (a) of
the Hague Convention is postal law. Under the International Postal Union, Judicial Documents
may be served by postal channels]. [293 A.R. 327; R.V. Re. Recognition of at Italian Judgment

LLPrel, 2000 WL 33541696]. [Brockmeyer v. May] 383 F3d. 798, 811 (9"" Cir. 2004).
MARITIME LAW

State Department circular also indicates service by mail is permitted in international civil
litigation. [U.S. Dept of State, Circular Service of process abroad in selected material in Int’!
Litig. And Arbitration] 688 P/Lit. 7771021 (2003). Under Maritime Law and Hague Convention
it provides: “(f) unless otherwise provided by Federal Law, service upon an individual from a
waiver that has not been obtained and filled.... May be affected in a place not within any Judicial

District of the United States. [4 (f)(1)].

Thus, by this cause being both Maritime Law and Federal Law the Defendant’s motion to
dismiss pursuant to Federal Rules of Civil Procedure 12(B)(5) should not be granted. The United
States government, the United States District Court, and the United States Supreme Court is

under Maritime Law. The postage stamp on the document is the fee to move the vessel through
Case 3:22-cv-02174-K-BT Document 13 Filed 11/07/22 Page3of6 PagelD 60

the sea of space and was docketed in the United States District Court For the Northern District of

Texas Dallas Division.
PRAYER

The Plaintiff humbly requests that the Honorable Court protect Maritime Law and

Federal Law by denying the Defendants’ motion. Thank you.

Respectfully Submitted,

:Tianikwa :Haywood

e . 8

‘ Date: \JAl ZO
Case 3:22-cv-02174-K-BT Document 13 Filed 11/07/22 Page4of6 PagelD 61

CERTIFICATE OF SERVICE
I certify that the original document was served to:

Pennymac Loan Services, LLC
Defendant

c/o Mark D. Cronenwett

Tex. Bar No. 00787303

Mackie, Wolf, Zientz & Mann P.C.
Parkway Office Center, Suite 900
14160 Dallas Parkway

Dallas, Texas 75254

:Tianikwa :Haywood

. ‘No a) e 5
e \ \ ‘ Date:
Case 3:22-cv-02174-K-BT Document 13 Filed 11/07/22 Page5of6 PagelD 62

CERTIFICATE OF SERVICE
I certify that the original document was served to:

Clerk of the

United States District Court

For the Northern District of Texas
Dallas Division

1100 Commerce Street Room 1400
Dallas, TX 75242

:Tianikwa :Haywood

* Teane ~ Vea Date: 4 2% C7
Case 3:22-cv-02174-K-BT Document 13 Filed 11/07/22 Page6of6 PagelD 63

Office DEPOT
OfficeMax:

Dallas - (972) 283-5024
EV7TT7PPUX4Q38ME6R
SALE 3264-20-1069-1111-22.11.1
901337 SS B&W Ltr Ema
10@0.15 1.50
You Pay 1.50SS
Subtotal: 1.50

Total: 1.50
Visa 8049; 1.50

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AUTH CODE 052018

TDS Chip Read

AID A0000000031010 VISA DEBIT
CVS No Signature Required

 

TIANIKWA HAYWOOD 19°%***H*056
Please create your online rewards
account at officedepot.com/rewards.
You must complete your account to
claim your rewards and view your

status.

Shop online at www.officedepot.com
dototototototatotototetotatetatotototototototatotatctototototatototatototatatototak:
WE WANT TO HEAR FROM YOU!
Visit survey. officedepot.com
and enter the survey code below
16AX 53CZ 6BD9
or scan the below QR code

 

FORE OP ERE AAA AAA A AAA AAA AE

 
